Case 1:17-cr-00127-KMW Document 117 Filed 03/02/18 Page 1of1

 

Miedel & Mysliwiec LLP

March 2, 2018

Hon. Kimba M. Wood

United States District Court Judge
United States District Court
Southern District of New York
500 Pearl] Street

New York, New York 10007

RE: United States v. Steven Simmons
17-Cr-127 (KMW)

Dear Judge Wood:

Your Honor recently granted a two-week adjournment of Steven Simmons’s sentencing,
now scheduled for March 26, with the defense sentence memo due on March 12. With the
consent of the government, I respectfully request an adjournment of one additional week.

Earlier this week I learned that I have to travel abroad for a case on Monday, March 5,
and will not be returning until Friday, March 9+, At this point I am not sure how reliable
internet access will be, or how much time I will have to devote to preparing the Simmons
sentencing memo, which is due the Monday after I return. In light of this unexpected work
trip, I sincerely request the Court to adjourn sentencing for one additional week. I once again
appreciate the Court’s indulgence. As noted, the request is not objected to by the government.

Thank you for your consideration.

Sincerely,

ECU
Flerian Miede

cc, AUSA Elisha Kobre
AUSA Brendan Quigley

 

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